
PER CURIAM.
By petition filed in this court, the relator Webb applies to our original jurisdiction to issue writs of habeas corpus ordering his release from custody in the Calcasieu Parish jail on the ground that he is being illegally detained.
The original jurisdiction of the Louisiana courts of appeal is limited to matters arising in cases of which they have appellate jurisdiction. Since they do not have appellate jurisdiction in criminal matters, the original jurisdiction of these intermediate courts to issue writs of habeas corpus does not include within its scope the question of confinements arising by, reason of criminal proceedings. See State ex rel. Jones v. Sheriff of Calcasieu Parish, La.App. 3 Cir., 185 So.2d 80 (Docket No. 1758; rendered April 14, 1966); State ex rel. Simien v. Sheriff of Calcasieu Parish, La.App. 3 Cir., 186 So.2d 669 (Docket No. 1782; rendered May 10, 1966).
For the foregoing reasons, we deny the relator’s application for a writ of habeas corpus.
Writ denied.
